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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                               UNITED STATES DISTRICT COURT                              August 10, 2023
                                SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

 GILBERTO CANGAS, JR.,                            §
                                                  §
         Plaintiff,                               §
                                                  §
 v.                                               §          Civil Action No. 4:22-cv-04502
                                                  §
 GUARANTEED RATE, INC.,                           §
                                                  §
         Defendant.                               §

                      ORDER GRANTING UNOPPOSED STIPULATION OF
                           DISMISSAL WITHOUT PREJUDICE

        On this day the Court considered the Unopposed Stipulation of Dismissal Without
Prejudice submitted by Plaintiff Gilberto Cangas, Jr. as to Defendant Guaranteed Rate, Inc.
(Doc. 11). This action is therefore DISMISSED WITHOUT PREJUDICE, with costs of
court being assessed against the party incurring the same. All relief not expressly granted in
this Order is hereby denied.


      IT IS SO ORDERED.

      SIGNED at Houston, Texas on this the 10th of August, 2023.




                                      ______________________________
                                      Keith P. Ellison
                                      United States District Judge
